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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                         :
                                                  :
            Felicia Neal                          :      Case No.: 20-10649(AMC)
                                                  :
            Debtor                                :      Chapter 13


                             MOTION TO DETERMINE VALUE


         1. Movant is the debtor in the above-captioned case. And now, comes the
   movant, by and through their counsel, Brad J. Sadek, and moves as follows:

           2. Respondent is Ally Bank, with an address where notices are to be sent at PO
   Box 130424 Number Street Roseville MN 55113-0004. See Proof of Claim attached
   hereto and marked as Exhibit "A."

          3. This is a motion to seek a determination of Respondent's secured claim for a
   (2014 Buick Encore VIN: KL4CJCSB3EB664759) ("Vehicle""). The vehicle was
   purchased on May 25th, 2016. The vehicle has approximately 45,000 miles and is in poor
   condition.

           4. Creditor filed a proof of claim alleging that the amount of the claim as of the
   date of filing was $13,750.00. See Proof of Claim Exhibit "A."

          5. However, Debtors contend that the value of the Vehicle is not more than
   $8,275.00 not including any interest. The condition of the vehicle currently impacts this
   value as well. A copy of the Kelley Blue Book value is attached hereto as Exhibit "B."

            6. Debtor further requests the interest rate be reduced to 6.25%.

           7. Movant requests that the interest be modified to 6.25%. This interest rate is
   equal to the "prime plus rate" as required by Till V. SCS Credit Corp., 124 S.CT. 951
   (2004).

          WHEREFORE, movant moves that this Honorable Court enter an order
   disallowing the Proof of Claim as filed by Respondent, and enter and Order consistent
   with the Movant's proposed Order to protect movant's right to a fresh start.
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   Dated: August 25, 2020                       /s/Brad J. Sadek, Esq
                                                Brad J. Sadek, Esq.
                                                Attorney for Debtor
                                                Sadek and Cooper
                                                1315 Walnut Street, #502
                                                Philadelphia, PA 19107
                                                215-545-0008
